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                 IN THE UNITED STATES DISTRICT COUR
                FOR THE NORTHERN DISTRI CT OF GEORGIAN
                           ATLANTA DIVI S I ON            1

SALVADOR ASCENCIO,
SANTOS DELGADO and
PEDRO CLETO SALGADO,
                                                                                 TWT
        Plaintiffs,

V   .                                        Ci letiolG • - 141k
BIG DOG DEMOLITION, INC .                    JURY TRIAL DEMANDED
and G.E. ANDERSON, II,

        Defendants .

                                 COMPLAINT

        COME NOW Plaintiff Salvador Ascencio ("Ascencio"), Plaintiff Santos

Delgado ("Delgado") and Plaintiff Pedro Cleto Salgado ("Salgado") (collectively

"Plaintiffs"), by and through their undersigned counsel, and file this Complaint

against Defendant Big Dog Demolition, Inc . ("Big Dog") and Defendant G .E .

Anderson, II ("Anderson") (collectively "Defendants") .

                                    PARTIES

        1 . Ascencio is an individual and resides at 3250 Austell Road, Lot 19A,

Marietta, Georgia 30008 .



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      2 . Delgado is an individual and resides at 2775 Gray Road, Lot 48,

Smyrna, Georgia 30082 .

      3 . Salgado is an individual and resides at 2775 Gray Road, Lot 28,

Smyrna, Georgia 30082 .

      4 . Big Dog is a company organized under the laws of the State of

Georgia with its principal place of business located at 2022 Airport Court SE,

Marietta, Georgia 30060 .

      5 . Big Dog may be served via its registered agent for service of process

- Thompson, O'Brien, Kemp & Nasuti, 40 Technology Parkway South, Suite 300,

Norcross, Georgia 30092 .

      6 . Anderson is an individual and, upon information and belief, resides in

the State of Georgia and within the Northern District of Georgia .

      7 . Anderson is Big Dog's CEO, CFO and Corporate Secretary, and,

upon information and belief, the owner of Big Dog, sole shareholder of any and all

of Big Dog's issued / outstanding shares of stock and/or majority shareholder of

any and all of Big Dog's issued / outstanding shares of stock .

      8 . Anderson may be served at 2022 Airport Court SE, Marietta, Georgia

30060.


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                                      JURISDICTION

       9 . Pursuant to 28 U.S .C . § 1331, this Court has federal question

jurisdiction over Plaintiffs' Complaint for violations of the Fair Labor Standards

Act, 29 U .S .C. § 201 et sec .

       10. Pursuant to 28 U .S.C. § 1367, this Court has supplemental jurisdiction

over Plaintiffs' state law claims .

                                         VENUE

       11 . Venue is proper in this district and division pursuant to 28 U.S .C. §

1391(b)(1) because Big Dog resides in the State of Georgia and within the

Northern District of Georgia, and, upon information and belief, Anderson resides

in the State of Georgia and within the Northern District of Georgia .

       12 . Venue is also proper in this district and division pursuant to 28 U .S .C .

§ 1391(b)(2) because a substantial part of the events / omissions giving rise to

Plaintiffs' Complaint occurred within the Northern District of Georgia and/or a

substantial part of the property at issue in Plaintiffs' Complaint is situated in the

Northern District of Georgia .

                             FACTUAL BACKGROUND

       13 .   In or around September 2008 , Ascencio was hired by Big Dog .


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      14. At all relevant times, Ascencio's contract with Big Dog was that he

would be paid $15 .00 per hour .

      15 .   Between approximately the beg inning of March 2010 and end of April

2010, Ascencio worked at least 253 hours .'

      16 . During at least one workweek between approximately the beginning

of March 2010 and the end of April 2010, Ascencio worked at least 41 hours .2

      17 . Big Dog has repeatedly refused and willfully failed and refused to pay

Ascencio for any of the hours that he worked between approximately the beginning

of March 2010 and end of April 2010 .

      18 .   At all relevant times, Big Dog contracted with Ascencio to reimburse

him for business 1job-related gasoline purchases that he made with his personal

funds in connection with his employment .

       19 . At all relevant times, Defendants had knowledge that Ascencio used

his personal funds for business / job-related gasoline purchases in connection with

his employment .



       1 Ascencio has copies of his time sheets from all but 1 of the workweeks ;
hence, the phrase "at least . . ."

      2 As noted above, Ascencio has copies of his time sheets from all but 1 of
the workweeks ; hence, the phrase "at least . . ."
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      20 . At all relevant times, Defendants condoned Ascencio using his

personal funds for business / job-related gasoline purchases in connection with his

employment .

      21 . Between approximately the middle of January 2010 and end of April

2010, Ascencio made gasoline purchases totaling at least several hundred dollars in

                                  .3
connection with his employment

      22 . Big Dog has repeatedly refused and willfully failed and refused to

reimburse Ascencio for any of the gasoline purchases he made between

approximately the middle of January 2010 and end of April 2010 in connection

with his employment .

      23 . In or around February 2010, Delgado was hired by Big Dog .

      24 . At all relevant times, Delgado's contract with Big Dog was that he

would be paid $9 .00 per hour .




       3 As noted above, Ascencio has copies of his time sheets from all but 1 of
the workweeks from approximately the beginning of March 2010 to the end of
April 2010, to which he attached the receipts for the gasoline purchases he made in
connection with his employment during such workweeks . Moreover, the gasoline
receipts attached to the time sheets referenced in the preceding sentence totals
approximately $204 .86 . However, Ascencio does not have copies of all of the
receipts for all of the gasoline purchases he made during each and every workweek
during the entire time period at issue ; hence, the phrase "at least . . ."
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      25 . Between approximately the beginning of March 2010 and end of April

2010, Delgado worked at least 206 .5 hours .4

      26.    During at least one workweek between approximately the beginning

of March 2010 and the end of April 2010, Delgado worked at least 41 hours .5

      27 . Big Dog has repeatedly refused and willfully failed and refused to pay

Delgado for any of the hours that he worked between approximately the beginning

of March 2010 and end of April 2010 .

      28 .   In or around mid 2008 , Salgado was hired by Big Dog .

      29 . At all relevant times, Salgado's contract with Big Dog was that he

would be paid $9 .00 per hour .

      30 . Between approximately the beginning of March 2010 and end of April

2010, Salgado worked at least 99 hours .6




       4 Delgado has copies of his time sheets from all but 1 of the workweeks ;
hence, the phrase "at least . . ."

     5 As noted above, Delgado has copies of his time sheets from all but 1 of the
workweeks ; hence, the phrase "at least . . ."

       6 Salgado has copies of his time sheets from all but 1 of the workweeks ;
hence, the phrase "at least . . ."

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          31 . Big Dog has repeatedly refused and willfully failed and refused to pay

Salgado for any of the hours that he worked between approximately the beginning

of March 2010 and end of April 2010 .

                                 COUNTS / CLAIMS

                  Count / Claim I - FLSA Minimum Wa ge Violation
                       (All Plai ntiffs Against Both Defendants)

          32 . Plaintiffs reallege and incorporate as if fully set forth herein the

allegations set forth in all of the above paragraphs .

          33. At all relevant times, Anderson was Big Dog's CEO, CFO and

Corporate Secretary, and, upon information and belief, the owner of Big Dog, sole

shareholder of any and all of Big Dog's issued 1 outstanding shares of stock and/or

majority shareholder of any and all of Big Dog's issued / outstanding shares of

stock .

          34 . At all relevant times, Anderson acted directly in the interest of Big

Dog in relation to Plaintiffs as defined by the FLSA .

          35 . At all relevant times, Defendants were Plaintiffs' employers as

defined by the FLSA .

          36 . At all relevant times, Plaintiffs were employees of Defendants as

defined by the FLSA .
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         37 . At all relevant times, Defendants were subject to the minimum wage

provisions of the FLSA .

         38 . At all relevant times, Plaintiffs were entitled to at least minimum

wage pursuant to the FLSA .

         39 . Defendants repeatedly and willfully failed and refused to pay

Plaintiffs at least minimum wage for each and every hour they worked for

Defendants between approximately the beginning of March 2010 and end of April

2010 .

         40 . Anderson may be held individually / personally liable along with Big

Dog for violating the minimum wage provisions of the FLSA .

         41 . As a result of Defendants' violations of the FLSA, Plaintiffs have

suffered damages .

                   Count / Claim II - FLSA Overtime Violation
                 (Ascencio and Del g ado Against Both Defendants

         42 . Ascencio and Delgado reallege and incorporate as if fully set forth

herein the allegations set forth in all of the above paragraphs .

         43 . At all relevant times, Anderson was Big Dog's CEO, CFO and

Corporate Secretary, and, upon information and belief, the owner of Big Dog, sole

shareholder of any and all of Big Dog's issued / outstanding shares of stock and/or

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majority shareholder of any and all of Big Dog's issued /outstanding shares of

stock.

         44. At all relevant times, Anderson acted directly in the interest of Big

Dog in relation to Ascencio and Delgado as defined by the FLSA .

         45. At all relevant times, Defendants were Ascencio's and Delgado's

employers as defined by the FLSA .

         46 . At all relevant times, Ascencio and Delgado were employees of

Defendants as defined by the FLSA .

         47 . At all relevant times, Defendants were subject to the overtime

provisions of the FLSA .

         48 .   At all relev ant times, Ascencio and Delgado were not exempt from

being entitled to overtime pursuant to the FLSA .

         49 . During at least one workweek between approximately the beginning

of March 2010 and the end of April 2010, Ascencio and Delgado each worked at

least 41 hours for Defendants .'

         50 . Defendants have repeatedly and willfully failed and refused to pay

Ascencio and Delgado time and one half for the time each of them worked for


        As noted above, Ascencio and Delgado have copies of their time sheets
from all but 1 of the weeks ; hence, the phrase "at least . . ."
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Defendants in excess of 40 hours in any workweek between approximately the

beginning of March 2010 and end of April 2010 .

      51 . Anderson may be held individually / personally liable along with Big

Dog for violating the overtime provisions of the FLSA .

      52. As a result of Defendants' violations of the FLSA, Ascencio and

Salgado have suffered damages .

                      Count / Claim III - Breach of Contract
                          All Plaintiffs Against Big Dog)

      53 . Plaintiffs reallege and incorporate as if fully set forth herein the

allegations set forth in all of the above paragraphs .

      54 . Plaintiffs' contracts with Big Dog are valid and enforceable .

      55 . Big Dog breached its contracts with Plaintiffs .

       56 . Big Dog repeatedly and willfully failed and refused to pay Plaintiffs

in accordance its contracts with Plaintiffs .

       57 . Big Dog also repeatedly and willfully failed and refused to reimburse

Ascencio for business 1job-related gasoline purchases that he made with his

personal funds in connection with his employment .

       58 .   As a result of Big Dog's breaches of its contracts with Plaintiffs,

Plaintiffs have suffered damages .

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                Count / Claim IV - All Litigation Expenses, Including
              Attorney's Fees and Costs, Pursuant to O .C.G.A. § 13-6-11
                            All Plaintiffs Against Big Dog)

      59 .      Plaintiffs reallege and incorporate as if fully set forth herein the

allegations set forth in all of the above paragraphs .

      60 . Plaintiffs' contracts with Big Dog are valid and enforceable .

      61 . Big Dog breached its contracts with Plaintiffs .

      62 . Big Dog repeatedly and willfully failed and refused to pay Plaintiffs

in accordance its contracts with Plaintiffs .

       63 . Big Dog also repeatedly and willfully failed and refused to reimburse

Ascencio for business 1 job-related gasoline purchases that he made w ith his

personal funds in connection with his employment .

       64 . Big Dog has acted in bad faith, have been stubbornly litigious, and

have caused Plaintiffs unnecessary trouble and expense .

       65 .     As a result of Big Dog acting in bad faith, being stubbornly litigious

and causing Plaintiffs unnecessary trouble and expense, Plaintiffs have suffered

damages .

                               PRAYER FOR RELIEF

       WHEREFORE , Plaintiffs pray for the following relief


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{a} That judgment be entered in Plaintiffs' favor and against Defendants

      on all of Plaintiffs' claims ;

(b)   That Plaintiffs be awarded all of their unpaid minimum wages

      pursuant to the FLSA ;

(c) That Plaintiffs be awarded liquidated damages in amounts equal to all

      of their unpaid minimum wages pursuant to the FLSA ;

(d) That Ascencio and Delgado be awarded all of their unpaid overtime

      wages pursuant to the FLSA ;

(e) That Ascencio and Delgado be awarded liquidated damages in

      amounts equal to all of their unpaid overtime wages pursuant to the

      FLSA ;

(f)   That Plaintiff be awarded all of their attorney's fees, costs and

      litigation expenses pursuant to the FLSA ;

(g)   That Plaintiff be awarded all of their breach of contract damages as

      allowed by law ;

(h) That Plaintiffs be awarded all of their litigation expenses, including

      attorney's fees and costs, pursuant to O .C.G.A . § 13-6-11 ; and




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      (i) That Plaintiffs be awarded any and all other and further relief as the

             Court deems just, proper and/or appropriate .

                           JURY TRIAL DEMANDED

      Respectfully submitted this the 11th day of May, 2010 .




                                                Preston B . Davis
                                                Georgia Bar No . 141999
                                                preston(a-),pbdavislaw.com
                                                Counsel for Plaintiffs

LAW OFFICE OF PRESTON B . DAVIS, LLC
4488 S . Springwood Dr . SW
Smyrna, GA 30082
Telephone : (678) 372-2477
Facsimile : (678) 945-5080

Counsel for Plaintiffs




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                         CERTIFICATION OF COUNSEL

      Pursuant to Local Rule 7 .1, N.D . Ga ., the undersigned counsel certifies that

this document was prepared with Times New Roman (14 point), one of the font

and point selections approved by the Court in Local Rule 5 .1B, N .D. Ga.

      Respectfully submitted this the 11 `h day of May, 2010 .




                                              Preston B . Davis
                                              Georgia Bar No . 141999
                                              preston ,pbdavislaw .com
                                              Counsel for Plaintiffs

LAW OFFICE OF PRESTON B. DAMS, LLC
4488 S . Springwood Dr . SW
Smyrna, GA 30082
Telephone: (678) 372-2477
Facsimile : (678) 945-5080

Counsel for Plaintiffs




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